Case 2:99-cr-20079-BBD Document 403 Filed 07/07/05 Page 1 of 2 Page|D 279

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 ,1 ja __-, FH l._ 2 g

    
 

 
   

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FRED JETER, JR. *

 

ORDER HOLDING DEFENDANT FOR F]NAL REVOCATION HEARING

 

On July 6, 2005, Fred Jeter, Jr. appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant had previously been advised
of his rights under Fed.R.Crim.P. 5 and 32.l(a), and counsel was appointed.

Accordingly, defendant Fred Jeter, Jr. is held to a final revocation hearing before United
States District Judge Bernice B. Donald. lt is presumed that the District Judge Will set this matter
for a revocation hearing pursuant to Fed.R.Crim.P. 32.1(b),(c) and Will see that appropriate notices
are given.

The defendant is hereby remanded to the custody of the United States Marshals.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

